         Case 2:20-cv-00255-WHA-CSC Document 2-3 Filed 04/14/20 Page 1 of 2

                                                                Pau k.ft,f‘ -cf
                                                                      Fichibrl-it c "
              444.        Cit„2.d.Lr
     TA, al;._.-E-f-us-8 iA)./I,I< e_c.„ CA a Lir.._,J401-42,14
         /4-14kira_14-...a4-cl df P-1-140--i4--5 147A4d Pia•AOIC
         inr,, 10,27Pkcer1.___ 44./ACI 4442._ fgr__p ex y'o/e cOkt a illeit`ezedii

         OK A ps;/ 1- a0/rt_a/pal461,..s_a..5_,aci _,,,n..ze._d               c
         afff12-,--S-g--P---4-115-02-icife-4Z-4-5 61 r ottLyna...tt A,01.-?iv
         U rei_Pecsa4-ivt 1-® 'tie C.,cLa_ 0- c.4-1640,444a iS--,22._:-.15_644,1
         ,_    ec.44-1._ 5;Lei    tA,e PertircA wpithl-r_n_ Elii_L.                       0'f si,..ty

          r d/aLe6t 'fa_r____)44-{A-1-6 54        --Asi-C.-.ifY V ct r a r tii‹. Lei ice,fc-di
                                         'V__e.--__I

          tra--,5_0145 4-0 fs 4ta.,Ky c616-5_61-e_pa424,-Id ,4_44 y petra_IC

         `.0II e     cam- ta/11.5Ja-sic-;i4.-Car ilita,t:0-14         kia....) 71-   5 e4,10
                                                                                           /0 2ile-Acti
          by tke_i/1ctil 1444.5 a vt-d vi'c li;-`1-14-          a-cltite,ctajc:L.,_r,t c

          lariat 45----fa,:1114-55 1-.0 tfriArLe.i2_05_1-1Li" sc-e_St,f- c-e_-ctekie
        ____t60,--i__±/4,5
                   --                         M-JeLJ3 fa--s le_e,
                           tz 1)_&.fb'tt44.04,,
         1     _,"r"1)1` 144-0-4160-1 0-44-cl Avil44-in.c. -i-b fc-pg-td
                                                                       ,21.te ti Cr.:
                                                                                    ,241

         ,frly •CYL.4_,...__T:40 t"-Xere..-L5 ktiz_At3i-P 0-___JA..x_._____G:_t_714,--
         1.16..141-a,te._-__.±0                          _<_•5_5 W5 CoL5k ;Lbt,:r0 f-L-Let,tsiaki
                                  c_., •1 e-A____cl125 C-A,

                           _ - -1 It c hoce,pci,
         clez1144 04-1--k_Atvi

                                                    iq'e- sfec.,F-CuAd y rr be,
                                                     Wilii4444.-_SIA2 Uva-44
                                                     I. 512 n.e.....:_..- h- 5:Zi- 4-
__                                                        ?0 inevtLi/4. Spa/LA/
                                                                              0y      Ad-
                                                    r1144.4 t .t._/ /-6- u...z, o 2.,......___
             Case 2:20-cv-00255-WHA-CSC Document 2-3 Filed 04/14/20
                                                      P 1 ci;        Page
                                                             \ et. f;f-F!s2 of 2
                                                                   Fi hikk-rtf 1t-C "


                             Certifkate, ® -.f Sc.rj1:2 e.
              i-w.; ti;,a-wt Sidai;v4m ida itercloy c e/et/Cy vir4,              6d--
             6114, fids 1 4 t-i-4- day -aS Metyt,Zkli S;.i.- it.i.civ r-- 6er vc--8
             fik e. co 11,0t,4A3evi lo c-10 &Li- I ir\.5 t-r-cl
              pec,-r-it/es *k c_c.4-cia As c.-cl i04,0er- we)4-- k pre        rcs.s e...4
             )
             0asta5e,__;p4t-iscLc..ci ch....i-     125,.._1246e-ils

                 1.0,,j Cli:cforA       Wet,ige r-
                       Ckat:V" it-c€44"--o9 f 4.---k c- OA it cl
                       AI 47-44,1- a- 361.-co-ci of Pa.rcietiz-s         Re rel-/ez
                        P,ot gcv 319       -Yel45)---"
                       )
                       1)
                        /1 o-hrty PR c...ify/ Al-4
                                        ' 1S-
                        3CP 1 ae ---- - e


                                           Fr°'441.j.    WI0-a---Het- -54,V1th 1 i,A 4„4.7

                                                         t5-2316,_17:A16-'
                                                                         6-4-


M eai_C+Ci       . Ue_
             L.Mar  /—Qc9 t                        __,,,,26 90 416.Atift kr 5fiN.A./...tx la
                                                      F‘tPPLAPefrd--/-
                                                                          76_0 2.-r
